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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION



UNITED STATES OF AMERICA

vs.                                    NO. 4:08CR00314 SWW

(1)LORENA CERVANTES
(2)REVERIANO MADRIGAL
(3)JESUS MURILLO
(4)JOSE MARTIN RINCON
(5)LUIS ENRIQUE RINCON
(6)HERIBERTO CHAVEZ JIMENEZ

                                AMENDED ORDER
      Pending before the Court are the motions filed by separate defendants

Jose Martin Rincon and Heriberto Chavez Jimenez requesting a continuance from

the trial date of October 20, 2008.   Counsel for the government nor the other

defendants have indicated any objections.

      The Court has fully considered the motions     and finds that the interest

of justice served by granting the continuance outweighs the best interest of

the public and defendants for a speedy trial and the issues herein are such

that to deny the motion would deny counsel for defendants the reasonable time

necessary for effective preparation for trial and to develop any and all

proper defenses which might be averred in the defendants’ behalf.

      The Court further finds that no severance has been granted on behalf of

co-defendants, Lorena Cervantes, Reveriano Madrigal and Jesus Murillo

previously scheduled for trial October 27, 2008, and Luis Enrique Rinson

previously scheduled October 14, 2008, since these defendants are jointly

indicted on similar evidence from the same event, their trial should be

continued to the same date as their co-defendants.

      IT IS THEREFORE ORDERED that the motions for continuance by defendants

Jose Martin Rincon [doc #50] and Heriberto Chavez Jimenez [doc #66] be, and

they hereby are, granted.   Counsel for the government and defendants have
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advised the Court of an amicable date for resetting the trial.                      Therefore,

this matter is rescheduled for trial to a jury at 9:30 a.m. on Monday, JUNE

22, 2009. Counsel are to be present thirty minutes prior to trial time.

       The parties are directed to submit simultaneous proposed voir dire

questions and jury instructions on or before June 12, 2009. If possible, the

Court requests counsel to provide the instructions saved as a WordPerfect

document or Rich Text Format file attached                to an e-mail addressed to

swwchambers@ared.uscourts.gov.            Please type the case name and number in the

subject box.      Otherwise, the Court requests counsel to provide the

instructions on a 3 ½” diskette, along with the written copy.

       Defense counsel should confer with the government and with one another

to determine any Bruton problems (see Bruton v. United States, 391 U.S. 123

(1968)) no later than sixty days prior to the trial date.

       If defense counsel anticipates bringing any electronic devices into the courthouse for any

proceeding or the trial in this matter, please review General Order No. 54 filed March 24, 2008.

       IT IS FURTHER ORDERED that the delay occasioned by this continuance

shall be excludable under the provisions of the Speedy Trial Act, 18 U.S.C.

3161(h)(8)(A) & (h)(7).

       Dated this 30th day of September, 2008.




                                                       /s/Susan Webber Wright
                                                       UNITED STATES DISTRICT JUDGE
